            Case 1:21-cr-00725-RDM Document 26 Filed 02/10/22 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES                              :

       v.                                  : Crim. No. 21-CR-725 (RDM)

KENNETH D. MASSIE                          :

                    APPEARANCE OF COUNSEL FOR DEFENDANT

       Please enter the appearance of undersigned appointed counsel on behalf of the Defendant,

nunc pro tunc to February 1, 2022.

                                                   /s/

                                           Stephen F. Brennwald, Esq.
                                           Bar No. 398319
                                           Brennwald & Robertson, LLP
                                           922 Pennsylvania Avenue, S.E.
                                           Washington, D.C. 20003
                                           (301) 928-7727
                                           (202) 544-7626 (facsimile)
                                           E-mail: sfbrennwald@cs.com


                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing was sent by ECF, this 10th day of
February, 2022 to the U.S. Attorney’s Office, 555 4th Street, N.W., Washington, D.C. 20530,
and to all counsel of record.

                                                   /s/

                                           Stephen F. Brennwald
